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General Docket
United States Court of Appeals for the Sixth Circuit

 

 

Court of Appeals Docket #: 21-305

In re: A&L Home Care and Training Ctr, et al
Appeal From: Southern District of Ohio at Cincinnati
Fee Status: not applicable

 

Docketed: 08/16/2021

 

Case Type Information:
1) Permission to Appeal
2) 1292
3) null

 

 

Originating Court Information:
District: 0648-1 : 1:20-cv-00757

Trial Judge: Matthew W. McFarland, U.S. District Judge

Date Filed: 09/21/2020

 

 

 

Date Order/Judgment: Date NOA Filed:
08/13/2021 08/16/2021
Prior Cases:
None
Current Cases:
Lead Member End
Related
21-305 21-306 08/16/2021

 

 

 

 

 

 

 

In re: A&L HOME CARE AND TRAINING CENTER, LLC
Petitioner

NILA IRBY
Petitioner

DAWNETTA ABBETT
Petitioner

RUTHIE LUCAS
Petitioner

 

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U.S. CHAMBER OF COMMERCE
Amicus Curiae

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Respondent

CALVIN MARCUM
Respondent

JESSICA VANWINKLE
Respondent

 

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In re: A&L HOME CARE AND TRAINING CENTER, LLC; NILA IRBY; DAWNETTA ABBETT, RUTHIE LUCAS

Petitioners

 

 

 

 

 

 

 

 
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1 pg, 250.1 KB

OD 414

1 pg, 244.19 KB

Permission for Leave to Appeal Docketed. Request filed by Petitioners A&L Home Care and Training
Center, LLC, Dawnetta Abbett, Nila Irby and Ruthie Lucas. Petition Received in 6CA: 08/16/2021. (REO)
[Entered: 08/16/2021 03:53 PM]

The case manager for this case is: Ryan Orme (REO) [Entered: 08/16/2021 03:56 PM]

APPEARANCE filed for Petitioners A&L Home Care and Training Center, LLC, Dawnetta Abbett, Nila Irby
and Ruthie Lucas by M. Scott Mcintyre. Certificate of Service: 08/16/2021. [21-305] (MSM) [Entered:
08/16/2021 08:01 PM]

APPEARANCE filed for Petitioners A&L Home Care and Training Center, LLC, Dawnetta Abbett, Nila Irby
and Ruthie Lucas by Gregory V Mersol. Certificate of Service: 08/17/2021. [21-305] (GVM) [Entered:
08/17/2021 03:26 PM]

AMICUS APPEARANCE filed for Chamber of Commerce of the United States of America by Jonathan D.
Urick. Certificate of Service: 08/23/2021. [21-305] (JDU) [Entered: 08/23/2021 04:44 PM]

***| OCKED - please refile including only the motion in this entry*** MOTION to file AMICUS BRIEF filed by
Jonathan D. Urick for Chamber of Commerce of the United States of America. Certificate of Service:
08/23/2021. [21-305]--[Edited 08/24/2021 by REO] (JDU) [Entered: 08/23/2021 04:53 PM]

TENDERED AMICUS BRIEF filed by Jonathan D. Urick for Chamber of Commerce of the United States of
America, without parties' consent. Certificate of Service:08/23/2021. [21-305]--[Edited 08/24/2021 by REO]
(JDU) [Entered: 08/23/2021 05:02 PM]

MOTION to file AMICUS BRIEF filed by Jonathan D. Urick for Chamber of Commerce of the United States
of America. Certificate of Service: 08/24/2021. [21-305] (JDU) [Entered: 08/24/2021 12:32 PM]

APPEARANCE filed for Respondents Larry Holder, Jessica Vanwinkle and Calvin Marcum by Greg
Mansell. Certificate of Service: 09/01/2021. [21-305] (GRM) [Entered: 09/01/2021 11:39 AM]

APPEARANCE filed for Respondents Larry Holder, Calvin Marcum and Jessica Vanwinkle by Carrie Dyer.
Certificate of Service: 09/01/2021. [21-305] (CJD) [Entered: 09/01/2021 11:40 AM]

APPEARANCE filed for Respondents Larry Holder, Calvin Marcum and Jessica Vanwinkle by Rhiannon
Herbert. Certificate of Service: 10/22/2021. [21-305] (RH) [Entered: 10/22/2021 11:29 AM]

 

 

 
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